                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                          Case No. 21-mj-10-01-AJ

Thomas Gallgher
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                        Public Access Findings

I.   Background

     Today’s hearing is taking place during the public health

emergency caused by the COVID-19 outbreak.       All parties to this

proceeding, including the court, are appearing remotely via

video teleconference.    The court’s protocols for this hearing

are laid out in Standing Order 20-7 (Mar. 23, 2020).       The court

finds that conducting this hearing via video teleconference —

under the unique circumstances presented by the COVID-19

pandemic — is the best way to ensure the safety of the

litigants, court personnel, and the public at large.       All

findings made in the court’s prior standing orders are

incorporated herein.    See Standing Order 20-25 (July 24, 2020). 1

     Today’s hearing has been noticed as a video teleconference.

The fact that this hearing is being conducted by video

teleconference impacts the public’s right to access court



     1 The court’s Standing Orders regarding the COVID-19
outbreak can be found here: http://www.nhd.uscourts.gov/court-
response-coronavirus-disease-covid-19.
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proceedings.   See Press-Enter. Co. v. Superior Court, 464 U.S.

501, 509-10 (1984).   Information regarding the hearing appears

on the court’s public docket, which is available on the court’s

public website.   Instructions regarding how members of the

public can join the hearing are also available on the court

website.   In the event the defendant consents to proceed, the

court makes the findings below.


II.   Partial Rather Than Total Closure

      The court first finds that this video hearing constitutes a

partial, rather than total, closure of these proceedings.     The

court so finds because the goals of public access will still be

achieved: this proceeding is not being held in secret and the

public, including members of the press, maintains the

opportunity to access this proceeding in real time.   See

Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 593-97

(1980) (Brennan, J., concurring in the judgment) (discussing the

functions of public access to court proceedings, including

ensuring that procedural rights are protected and that justice

is administered equally, maintaining public confidence in the

justice system, enabling the public to act as a check on

judicial power, and promoting accurate fact-finding); see also

Bucci v. United States, 662 F.3d 18, 22 (1st Cir. 2011)

(discussing benefits of openness in criminal proceedings).


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Under the extraordinary circumstances presented by the

continuing COVID-19 pandemic, the court finds this partial

closure is necessary.


III. Findings in Support of Necessity for this Partial Closure

  A. First, the court finds that protecting the health and
     safety of the public and the parties to this proceeding
     from the spread of COVID-19 is a substantial interest that
     would be jeopardized and prejudiced if the court did not
     impose this partial closure.

     Since the first announced case in New Hampshire on March 2,

2020, the state has reported 20,994 confirmed cases of COVID-19. 2

As of November 30, 2020, 526 deaths have been attributed to the

disease in this state. 3   Further, as of November 30, 2020,

approximately 7,700 people are being monitored for signs of

COVID-19 infection and 817,159 total tests 4 have been reported

(both positive and negative test results). 5   Nationally, as of


     2 Novel Coronavirus 2019 (COVID-19), N.H. Dep’t of Health
and Human Servs., https://www.nh.gov/covid19/ (last updated Nov.
30, 2020). The statistics in this paragraph change frequently;
updated figures are available at the sources cited.

     3 NovelCoronavirus 2019 (COVID-19), N.H. Dep’t of Health and
Human Servs., https://www.nh.gov/covid19/ (last updated Nov. 30,
2020).
     4 This statistic refers to the polymerase chain reaction
(“PCR”) test. See COVID-19 diagnostic testing, Mayo Clinic,
https://www.mayoclinic.org/tests-procedures/covid-19-diagnostic-
test/about/pac-20488900 (last updated Nov. 24, 2020).

     5 Novel Coronavirus 2019 (COVID-19), N.H. Dep’t of Health
and Human Servs., https://www.nh.gov/covid19/ (last updated Nov.
30, 2020); COVID-19 Overview Dashboard, N.H. Dep’t of Health and
Human Servs.,
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November 30, 2020, the number of confirmed cases has grown to

13,295,605, with 266,051 cases resulting in death. 6

     Given the contagious nature of the virus and the

exponential growth in cases, COVID-19 presents an enormous

danger to the health and safety of the public, including the

litigants, security, and court personnel involved in this

proceeding.   The court’s interest in preventing the spread of

COVID-19 and preserving the health of all hearing participants,

including the public, is a weighty and substantial interest that

would likely be prejudiced if the court were not to impose this

partial closure.   See United States v. Smith, 426 F.3d 567, 572-

73 (2d Cir. 2005) (finding that U.S. Marshals’ policy after

September 11th of requiring unknown visitors to court to produce

photo identification constituted partial closure of courtroom

that was justified by substantial reason of promoting security

and preventing terrorism).

  B. Second, the court finds that this partial closure of court
     proceedings is narrowly tailored to protect public health
     and safety and is less restrictive than the court’s current
     in-court hearing protocols.



https://www.nh.gov/covid19/dashboard/overview.htm#dash (last
updated Nov. 30, 2020).

     6 CDC COVID Data Tracker, Ctrs. for Disease Control and
Prevention, https://covid.cdc.gov/covid-data-
tracker/#cases_casesper100klast7days (last updated Nov. 30,
2020).


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      Allowing the public to access these proceedings through

video teleconference allows members of the public to access the

proceedings while, at the same time, protecting the health of

all involved by limiting the potential exposure of the public,

parties, and court staff to COVID-19.

     Importantly, the court finds that, in light of the court’s

current restrictions on the number of people permitted in the

courtroom, providing public video access is less restrictive

than holding an in-person hearing which only a more limited

number of people can attend.   Further, via video, even

individuals who would have otherwise been prohibited from

entering the courthouse — for example, people who have tested

positive for COVID-19 — now have access (even though virtual) to

the proceedings.   See Standing Order 20-33 (Nov. 16, 2020)

(prohibiting certain individuals from entering the courthouse,

including people recently diagnosed with COVID-19 or exposed to

someone diagnosed with COVID-19).    Providing the public access

to this proceeding via video is the least restrictive means of

protecting the substantial interest of public health and safety.

See United States v. Alimehmeti, 284 F. Supp. 3d 477, 490

(S.D.N.Y. 2018) (granting partial closure of courtroom to

protect identity of undercover agents: courtroom was closed to

public during undercover agents’ testimony but audio of

testimony was live-streamed into different courtroom and

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transcripts of testimony were promptly made available to

public).

  C. Third, the court has considered reasonable alternatives to
     this partial closure.

      The court has considered alternatives to this partial

closure and finds they are neither reasonable nor feasible under

the circumstances of the COVID-19 pandemic and this case,

particularly the necessity that this hearing be conducted

promptly.


IV.   Conclusion

      In sum, the court finds that in this case a partial closure

of court proceedings is necessary in that today’s hearing will

be conducted by video teleconference.   This partial closure is

justified by the substantial interest of protecting public

health and safety.   The public maintains the opportunity to

access this proceeding by video teleconference.

      SO ORDERED.

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                               Andrea K. Johnstone
                               United States Magistrate Judge

____________________,
      January 14      2021

cc:   Counsel of record




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